20-22815-shl   Doc 1   Filed 07/03/20 Entered 07/03/20 12:28:53   Main Document
                                     Pg 1 of 15
20-22815-shl   Doc 1   Filed 07/03/20 Entered 07/03/20 12:28:53   Main Document
                                     Pg 2 of 15
20-22815-shl   Doc 1   Filed 07/03/20 Entered 07/03/20 12:28:53   Main Document
                                     Pg 3 of 15
20-22815-shl   Doc 1   Filed 07/03/20 Entered 07/03/20 12:28:53   Main Document
                                     Pg 4 of 15
20-22815-shl   Doc 1   Filed 07/03/20 Entered 07/03/20 12:28:53   Main Document
                                     Pg 5 of 15
20-22815-shl   Doc 1   Filed 07/03/20 Entered 07/03/20 12:28:53   Main Document
                                     Pg 6 of 15
20-22815-shl   Doc 1   Filed 07/03/20 Entered 07/03/20 12:28:53   Main Document
                                     Pg 7 of 15
20-22815-shl   Doc 1   Filed 07/03/20 Entered 07/03/20 12:28:53   Main Document
                                     Pg 8 of 15
20-22815-shl   Doc 1   Filed 07/03/20 Entered 07/03/20 12:28:53   Main Document
                                     Pg 9 of 15
20-22815-shl   Doc 1   Filed 07/03/20 Entered 07/03/20 12:28:53   Main Document
                                    Pg 10 of 15
20-22815-shl   Doc 1   Filed 07/03/20 Entered 07/03/20 12:28:53   Main Document
                                    Pg 11 of 15
20-22815-shl   Doc 1   Filed 07/03/20 Entered 07/03/20 12:28:53   Main Document
                                    Pg 12 of 15
20-22815-shl   Doc 1   Filed 07/03/20 Entered 07/03/20 12:28:53   Main Document
                                    Pg 13 of 15
20-22815-shl   Doc 1   Filed 07/03/20 Entered 07/03/20 12:28:53   Main Document
                                    Pg 14 of 15
20-22815-shl   Doc 1   Filed 07/03/20 Entered 07/03/20 12:28:53   Main Document
                                    Pg 15 of 15
